                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTII CAROLINA
                                SOUTHERN DMSION
                                  No. 7:07-CR-128-D


UNITED STATES OF AMERICA                      )
                                              )
                                              )
                   v.                         )               ORDER
                                              )
SAMUEL COFIELD,.                              )
                                              )
                          Defencmnt.          )


       On September 2, 2021, Samuel Cofield ("Cofield" or "defendant'') moved (again) for

compassionate release under the First Step Act ("First Step Act"), Pub. I,,. No. 115-391, § 603(b),

132 Stat. 5194, 5238-41-(2018) (codified as amended at 18 U.S.C. § 3582) and filed exhibits in

support [D.E. 173, 174]. On September 10, 2021, the United States responded in opposition [D.E.

176]. As explained below, the court denies Cofield's motion.

                                                  I.

       On March 25, 2008, pursuant to a written plea agr~ent, Cofield pleaded guilty to

conspiracy to possess with intent to distribute and distribute five kilograms or more of cocaine. See

[D.E. 36, 37]. On August 12, 2008, the court held a sentencing hearing and adopted the facts set

forth in the Presentence Investigation Report ("PSR"). See [D.E. 70, 92]; Fed. R. Crim. P.

32(i)(3)(A)-(B). The court calculated Cofield's total offense level to be 34, his criminal history

category to be vi, and his advisory guideline range to be 262 to 327 months' imprisonment. See

[D.E. 70]; [D.E. 92] 5. After granting the government's motion for downward departure and

thoroughly considering all relevant factors under 18 U.s.c:·§ 3553(a), the court sentenced Cofield

to 216 months' imprisonment. See [D.E. 70] 2; [D.E. 92] 12-15. That same day, Cofield appealed



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[D.E. 71]. On July 1, 2010, the Fourth Circuit affirmed Cofield's conviction and sentence. See

UnitedStatesv. Cofield, 385F.App'x355, 356--57 (4th Cir. 2010) (perctniam) (unpublished) [D.E.

109]; [D.E. 110].

        On July 1, 2020, Cofield moved for compassionate release under the First Step Act [D.E.

160]. On January 15, 2021, the court denied Cofield' s motion in a comprehensive order [D.E. 169].

On September 2, 2021, Cofield again moved for compassionate release, seeking release from

incarceration, an increased term of supervised release, and home confinement. See [D.E. 173] 1.

                                                 II.

        On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

5249. Before the First Step Act, only the Director of the Bureau of Prisons ("BOP") could file a

motion for compassionate release. Under the First Step Act, a sentencing'· court may modify a

sentence of imprisoillnent either upon a motion of the Director of the BOP "or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to appeal a failure of the

[BOP] to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such

a request by the warden ofthe defendant's facility, whichever is earlier." 18 U.S.C. § 3582(c)(1 )(A).

       ~      a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

"extraordinary and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

served at least 30 years in prison, and have the Director of the BOP determine ''that the defendant

is not a danger to the safety of any other person or the community." Id. In deciding to reduce a

sentence under section 3582(c)(l)(A), a court must consult the sentencing factors in 18 U.S.C. §

3553(a) and must ensure that a sentence reduction is "consistent with applicable policy statements

issued by the" United States Sentencing Commission (the "Commission"). Id.

      -The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

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parrots section 3S82(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

safety of any other person or to the community." U.S.S.G.             § lBl.13(2). Section 1Bl.13's
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application notes provide examples ofextraordinary and compelling reasons, including: (A) serious

medical conditions of the defendant, (B) advanced age of the defendant when coupled with "a
                                                                                                         I
serious deterioration in physical and mental health" due to aging and having served at least 10 years

or 75% ofhis or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

extraordinary and compelling reason. U.S.S.G. § lBl.13 cmt. n.1. 1 Application note 2 states that


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           Application note 1 to U.S.S.G. § lBl.13 states in full:

       1. · .Extraordinary and Compelling Reasons.-Provided the defendant meets the
             requirements• of subdivision (2), extraordinary and compelling reasons exist
             under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time
                           period) is not required Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia.

                      (ii) The defendant is-

                            Q) suffering from a serious physical or medical condition,

                            (II) suffering from a serious functional or cognitive impairment,
                                 or

                            (III) experiencing deteriorating physical or mental health because
                                  of the aging process,                      ,

                            that substantially diminishes the ability of the defendant to
                            provide self-care within the environment of a correctional facility
                            and from which he or she is not expected to recover.

                (B) Age of the Defendant-The defendant (i) is at least 65 years old; (ii)

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 "an extraordinary and compelling reason need not have been unforeseen at the time of sentencing

 in order to warrant a reduction in the term of imprisonment." U.S.S.G. § lBl.13 cmt. n.2. Thus,

 "the fact that an extraordinary and compelling reason reasonably could have been known or

 anticipated by the sentencing court does not preclude consideration for a reduction under this policy

 statement." Id. Application note 3 states, "Pursuant to 28 U.S.C. § 994(t), rehabilitation of the

 defendant is not, by itself, an extraordinary ~d compelling reason for purposes of this policy

 statement." U.S.S.G. § lBl.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

 updated U.RS.G. § lBl.13 to account for the First Step Act. Accordingly, section lBl.13 does not

 provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

 3582(c)(l)(A). See, e.g., United States v. High. 997 F.3d 181, 186 (4th Cir. 2021); United States

 v. Kibble, 992 F.3d 326, 330-31 (4th Cir. 2021), petition for cert. docke~ (U.S. Sept. 8, 2021)




                      is experiencing a serious deterioration in physical or mental health
                      because of the aging process; and (iii) has served at least 10 years or 75
                      percent of his or her term of imprisonment, whichever is less.

                (C) Family Circumstances.-

                     (i) The death or incapacitation ofthe caregiver ofthe defendant's minor
                         child or minor children.

                     (ii) The incapacitation of the defendant's spouse or registered partner
                          when the defendant would be the only available caregiver for the
                          spouse or registered partner.

                (D) Other Reasons.-A.s determined by the Director of the Bureau of
                    Prisons, there exists in the defendant's case an extraordinary and
                    compelling reason other than, or in combination with, the reasons
                    described in subdivisions (A) through (C).

U.S.S.G. § lBl.13 cmt. n.1 (emphasis omitted).

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 (No. 21-5624); United States v. McCoy. 981 F.3d 271, 280--84 (4th Cir. 2020). Rather, ''U.S.S.G.

 § lBl .13 only applies when a request for compassionate release is made upon motion ofthe Director

 of the [BOP]." Kibble, 992 F.3d at 330--31 (cleaned up). Nevertheless, section lBl.13 provides

_informative policy when assessing an inmate's motion, but a court independently determines whether

 "extraordinary and compelling reasons" warrant a sentence reduction under 18 U.S.C. § ·

 3582(c)(l)(A)(i). See High. 997 F.3d at 186; McCoy. 981 F.3d at 283-84. In doing so, the court
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 consults not only U.S~S.G. § lB 1.13, but also the text of 18 U.S.C. § 3582(c)(1 )(A) and the section

 3553(a) factors. See, e.g., McCoy, 981 F.3d at 280--84; United States v. Jones, 980 F.3d 1098,

 1101--03 (6th Cir. 2020); United States v.   ~       980 F.3d 1178, 1180--81 (7th Cir. 2020); United

 States v. Ruffin. 978 F.3d 1000, 1007--09 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228,

 237-38 (2dCir. 2020); UnitedStatesv. Clark,No. 1:09cr336-l, 20~0WL 1874140,at *2 (M.D.N.C.

 Apr. 15, 2020) (unpublished).

                                                  m.
        Cofield asks the court to reexamine the circumstances of his case, arguing they justify

 granting compassionate release. See [D.E. 173]. Cofield pursued some administrative remedies

 before filing this second motion for compassionate release, see [D.E. 174-2], and the government

 concedes that Cofield has exhausted his administrative remedies. See [D.E. 176] 3; see also United

 States v. Alam, 960 F.3d 831, 833-34 (6th Cir. 2020). Accordingly, the court addresses Cofield's

motion on the merits.

        Cofield seeks compassionate release pursuant to section 3582(c)(1 )(A). In support, Cofield

cites the COVID-19 pandemic and his health_ conditions, both the conditions he cited in his first

motion for compassi<>~te release and new health conditions. See [D.E~ 173] 2. Cofield's health

conditions include hypertension, hyperlipidemia, atrial fibrillation, cardiac arrhythmia, pre-diabetes,

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andahistoryoftesticularcancer. See [D.E.173] S; [D.E.174-1]; [D.E.160]; [D.E.162] S; [D.E.

162-1]; cf. PSR ,r 32 (noting history of testicular cancer). Cofield has also "recently undergone

cardiothoracic surgery." [D.E. 173] S & n.9. As further support, Cofield cites his rehabilitation

during incarceration and has outlined a release plan that includes living with his sister and plans for

employment. See id. at 8.

        The ''medical condition of the defendant" policy statement requires that the defendant be

"suffering from a serious physical or medical condition ... from which he or she is not-expected to .

recover." U.S.S.G. § lBl.13 cmt. n.l(A)(ii). Cofield has failed to demonstrate that he will not

recover from his health conditions or that his conditions cannot be treated while Cofield serves his

sentence. Although Cofield has had surgery since this court considered Cofield's first motion for

compassionate release, Cofield has not suggested the surgery was unsuccessful or produced

complications. Accordingly, reducing Cofield's sentence is not consistent with application note

l(A). See 18 U.S.C. § 3S82(c)(l)(A).

       As for the "other reasons" policy statement, the court assumes without deciding that the

COVID-19 pandemic and Cofield's medical conditions are extraordinary and compelling reasons

under section 3S82(c)(l)(A). Cf. United States v. Raia, 954 F.3d 594,597 (3d Cir. 2020) ("[T]he

mere existence of COVID-19 in society and the possibility that it may spread to a particular prison

alone cannot independently justify compassionate release, especially considering BOP's statutory

role, and its extensive and professional efforts to curtail the virus's spread."). Even so, the section

3SS3(a) factors counsel againstreducingCofield's sentence. See High, 997F.3dat 187-91; Kibble,

992 F.3d at 331-32; United States v. Cham.bliss, 948 F.3d 691, 693-94 (5th Cir. 2020); Clark, 2020

WL 1874140, at *3-8.

       Cofield is 48 years old and engaged in very serious criminal behavior from 2006 to 2007.

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See PSR fl S-8. Cofiel~ trafficked 24.89 kilograms of cocaine from Texas to North Carolina and

recruited a driver to help transport the narcotics.. See id. Cofield is a career offender who has been

a cocaine dealer for most of his adult life. See id. at fl 11-13, 1S, 19, 20; [D.E.--92] 14. Moreover,

Cofield is a recidivist whose criminal history includes possession with intent to seWdeliver cocaine
       '                           (




(four counts), sale of cocaine (five counts), possession of a schedule Il controlled substance with the

intent to 1sell (two counts), possession of a schedule Il controlled substance, attempted obstruction

ofjustice, and maintaining a dwelling for cocaine. See PSR fl 10-20.° Furthermore, Cofield has an

extensive history ofprobation revocations and violations. See id. Cofield also has twice refused to
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be vaccinated against COVID-19. See [D.E. 176] 4; cf. United States v. Broadfield, S F.4th 801, 803_

(7th Cir. 2021) ("And a prisoner who remains at elevated risk because he has declined to be

vaccinated cannot plausibly characterize that risk as an 'extraordinary and compelling' justification

for release. The risk is self-incurred.")~

           The court also has considered Cofield' s rehabilitation efforts, potential exposure to COVID-

19, refusal to be vaccinated, medical conditions, and release plan. Cf. Pca,_per v. United States, S62

U.S. 476, 480-81 (2011); High, 997 F.3d at 187-91; United States v. McDonald, 986 F.3d 402,412

(4th Cir. 2021); United States v. Mi!tlm, 916 F.3d 389,398 (4th Cir. 2019). Having cons~dered the

entire record, the steps that the BOP has taken to address COVID-19 and treat Cofield, the section

3SS3(a) factors, Cofield's arguments, the gov~ent's persuasive response, and the need to punish

Cofield for his criminal behavior, to incapacitate Cofield, to promote respect for the law, to deter

others, and to protect society, the court declines to grant Cofield' s second motion for compassionate

release. See.~Chavez-Mezav. UnitedStates, 138S.Ct.19S9, 1966-68(2018);R:mlm,978F.3d

at 100~9; Chambliss, 948 F.3d at 693-94; United States v. Hill, No. 4:13-CR-28-BR, 2020 WL

205S1S, at *2 (E.D.N.C. Jan. 13, 2020) (unpublished), aff'd, 809 F.App'x 161 (4th Cir. 2020) (per

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curiam) (unpublished).

       As for Cofield' s request for home,confinement, see [D.E. 173] 7-8, Cofield apparently seeks,

relief under the CARES Act. The CARES Act does not provide this court with the authority to grant

home confinement. See United States v. Brumm~ No. 20-5626, 2020 WL 5525871, at *2 (6th Cir.

Aug. 19, 2020) (unpublished) ("[T]he authority to grant home confinement remains solely with the

Attorney General and the BOP."); United States v. McCoy. No. 3:19-CR-35-KDB-DCK, 2020 WL

5535020, at *1-2 (W.D.N.C. Sept. 15, 2020) (unpublished); United States v. Gray, No.

4:12-CR-54-FL-1, 2020 WL 1943476, at *3 (E.D.N.C. Apr. 22, 2020) (unpublished). As such, the
                             '
court dismisses Cofield' s request for home confinement.

                                               IV.

       In sum, the court DENIES defendant's motion for compassionate release [D.E. 173] and         1




DISMISSES his request for home confinement.

       SO ORDERED. This JR__ day of October, 2021.




                                                           11Jms   f  oE'w~ m
                                                           United States District Judge




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